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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                      Gordon P. Gallagher, United States Magistrate Judge

  Civil Action No. 19-cv-02669-LTB-GPG

  PAMELA C. KERSTEN,

         Plaintiff,

  v.

  LARIMER COUNTY, COLORADO,
  MAGISTRATE MATTHEW ZEHE,
  JEANNIE BRUENNING,
  JEFFREY BRUENNING,
  RAUN BRUENNING,
  MEGAN BRUENNING,
  AUSTYN FORD,
  BRIAN FORD,
  KIRK WAIBLE, Attorney,
  KATHRYN LEES, Court Family Investigator,
  JOHNNY MARTINEZ, San Luis Obispo County Juvenile Services Center,
  NICHOLE EVANS, Probation Officer Larimer County,
  PLATTE VALLEY YOUTH SERVICES,

         Defendants.


              RECOMENDATION OF UNITED STATES MAGISTRATE JUDGE


         This matter comes before the Court on the Complaint (ECF No. 5) filed pro se by

  Plaintiff on September 25, 2019. The matter has been referred to this Magistrate Judge

  for recommendation (ECF No. 11)1.


  1 Be advised that all parties shall have fourteen (14) days after service hereof to serve and file
  any written objections in order to obtain reconsideration by the District Judge to whom this case
  is assigned. Fed. R. Civ. P. 72(b). The party filing objections must specifically identify those
  findings or recommendations to which the objections are being made. The District Court need
  not consider frivolous, conclusive or general objections. A party’s failure to file such written
  objections to proposed findings and recommendations contained in this report may bar the party
  from a de novo determination by the District Judge of the proposed findings and
  recommendations. United States v. Raddatz, 447 U.S. 667, 676-83 (1980); 28 U.S.C. §
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         The Court has reviewed the filings to date. The Court has considered the entire

  case file, the applicable law, and is sufficiently advised in the premises. This Magistrate

  Judge respectfully recommends that the Complaint be dismissed.

  I. Factual and Procedural Background

         Plaintiff Pamela C. Kersten initiated this action on September 18, 2019, by filing

  pro se a Civil Complaint (ECF No. 1) and an Application to Proceed in District Court

  Without Prepaying Fees and Costs (Long Form) (ECF No. 2). She was directed to cure

  deficiencies by filing her pleading on the Court-approved form. (See ECF No. 4). On

  September 25, 2019, she filed a Complaint (ECF No. 5) pursuant to 28 U.S.C. §§ 1331

  and 1332. Plaintiff was granted leave to proceed in forma pauperis pursuant to 28

  U.S.C. § 1915. (See ECF No. 8).

         The Court reviewed the Complaint, determined there were pleading deficiencies

  that needed to be addressed, and entered an order to amend on October 8, 2019. (See

  ECF No. 9). Specifically, Plaintiff was directed to file an amended complaint that

  complied with Rule 8 of the Federal Rules of Civil Procedure; that properly asserted

  federal subject matter jurisdiction; that was not subject to dismissal under the Rooker-

  Feldman and/or Younger abstention doctrines; that sued parties who were not entitled to

  immunity; and that did not assert claims based on alleged violations of federal criminal

  statutes. (Id.).




  636(b)(1). Additionally, the failure to file written objections to the proposed findings and
  recommendations within fourteen (14) days after being served with a copy may bar the
  aggrieved party from appealing the factual findings and legal conclusions of the Magistrate
  Judge that are accepted or adopted by the District Court. Thomas v. Arn, 474 U.S. 140, 155
  (1985); Moore v. United States, 950 F.2d 656, 659 (10th Cir. 1991).
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         Plaintiff has not filed an amended pleading within the time allowed. Therefore,

  the operative pleading is the Complaint (ECF No. 5) filed on September 25, 2019.

  II. Analysis

         The Court must construe the Complaint liberally because Plaintiff is a pro se

   litigant. See Haines v. Kerner, 404 U.S. 519, 520-21 (1972); Hall v. Bellmon, 935 F.2d

   1106, 1110 (10th Cir. 1991). If a complaint reasonably can be read “to state a valid

   claim on which the plaintiff could prevail, [a court] should do so despite the plaintiff’s

   failure to cite proper legal authority, his confusion of various legal theories, his poor

   syntax and sentence construction, or his unfamiliarity with pleading requirements.” Hall,

   935 F.2d at 1110. However, the Court should not act as a pro se litigant’s advocate.

   See id.

         The allegations in the Complaint arise from state juvenile court proceedings and

   orders relating to child custody placement and parental responsibilities. (See ECF No.

   5 at 14-23). Plaintiff alleges that Defendants acted wrongfully toward her during these

   state court proceedings. (Id.). She specifically claims that Defendants: (i) violated her

   constitutional rights by unlawfully seizing and removing her minor children from her

   home without due process of law (Claims One, Two, Three, and Four – the “§ 1983

   Claims”); (ii) committed intentional infliction of emotional distress, invasion of privacy,

   and defamation (Claims Five, Six, and Seven – “the State Law Claims”); and (iii)

   violated criminal statutes, 18 U.S.C. § 221 and 18 U.S.C. § 1201 (Claims Eight and

   Nine – “the Criminal Claims”). (Id. at 24-29). Plaintiff sues Larimer County Colorado,

   Magistrate Judge Matthew Zehe, Guardian ad litem Kirk Waible, Court Family

   Investigator Kathryn Lees, Juvenile Probation Officer Nichole Evans, and Platte Valley
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   Youth Services (“the Colorado State Defendants”); Jeannie Bruenning, Jeffrey

   Bruenning, Raun Bruenning, Megan Bruenning, Austyn Ford, and Brian Ford (“the

   California Private Defendants”); and California Juvenile Probation Officer Johnny

   Martinez. (Id. at 11-12). As relief, Plaintiff seeks money damages as well as

   “enforcement of her Civil rights.” (Id. at 29-30).

           A. Jurisdiction

           It is the Court’s duty to assure itself of its subject matter jurisdiction before

  proceeding with any case. See Citizens Concerned for Separation of Church & State

  v.City & County of Denver, 628 F.2d 1289, 1297, 1301 (10th Cir. 1980). There are two

  statutory bases for federal subject matter jurisdiction: federal question jurisdiction under

  28 U.S.C. § 1331 and diversity jurisdiction under 28 U.S.C. § 1332. See 28 U.S.C. §

  1331 (“The district courts shall have original jurisdiction of all civil actions arising under

  the Constitution, laws, or treaties of the United States.”); and 28 U.S.C. § 1332 (“The

  district courts shall have original jurisdiction of all civil actions where the matter in

  controversy exceeds the sum or value of $75,000 . . . and is between citizens of different

  States . . . “). The burden of establishing subject matter jurisdiction is on the party

  asserting jurisdiction. Basso v. Utah Power & Light Co., 495 F.2d 906, 909 (10th Cir.

  1974).

           Rule 12 of the Federal Rules of Civil Procedure empowers a court to dismiss a

  complaint for lack of subject matter jurisdiction. See Fed. R. Civ. P. 12(b)(1) and (h)(3).

  Dismissal for lack of jurisdiction is not a judgment on the merits of a plaintiff's case.

  Rather, it calls for a determination that the court lacks authority to adjudicate the matter,

  attacking the existence of jurisdiction rather than the allegations of the complaint. See
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  Castaneda v. INS, 23 F.3d 1576, 1580 (10th Cir. 1994) (recognizing that federal courts

  are courts of limited jurisdiction and may only exercise jurisdiction when specifically

  authorized to do so). A court lacking jurisdiction “must dismiss the cause at any stage of

  the proceedings in which it becomes apparent that jurisdiction is lacking.” Id. at 909;

  see also McAlester v. United Air Lines, Inc., 851 F.2d 1249, 1252 (10th Cir. 1988)

  (holding that issue of subject matter may be raised sua sponte by the court at any point

  in the proceedings). The dismissal is without prejudice. Brereton v. Bountiful City Corp.,

  434 F.3d 1213, 1218 (10th Cir. 2006).

         In the Complaint, Plaintiff asserts jurisdiction pursuant to 28 U.S.C. § 1331

  (federal question) and 28 U.S.C. § 1332 (diversity). While Plaintiff, a resident of

  Colorado, sues some Defendants that reside in California, she also sues Defendants

  that are citizens of Colorado. (See ECF No. 5 at 2-7). Therefore, she does not properly

  invoke diversity jurisdiction because there is not complete diversity among the parties.

  See Grynberg v. Kinder Morgan Energy Partners, L.P., 805 F.3d 901, 905 (10th Cir.

  2015) (“Diversity jurisdiction requires complete diversity — no plaintiff may be a citizen

  of the same state as any defendant.”).

         Plaintiff also attempts to establish federal question jurisdiction by asserting claims

  pursuant to 42 U.S.C. § 1983. The California Private Defendants and Defendant

  Waible, however, are not state actors, and thus § 1983 does not apply to them. See

  NCAA v. Tarkanian, 488 U.S. 179, 191 (1988) (recognizing that § 1983 applies only to

  defendants who “‘represent [the State] in some capacity, whether they act in accordance

  with their authority or misuse it.’”); Hennelly v. Flor de Maria Oliva, 237 F. App'x 318,

  320 (10th Cir. 2007) (unpublished) (citing Meeker v. Kercher, 782 F.2d 153, 155 (10th
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  Cir.1986) (“guardians ad litem are not state actors for purposes of § 1983, because they

  give their ‘undivided loyalty to the minor, not the state.’”).

         B. Rule 8

         The Complaint is further deficient because Plaintiff has not complied with the

  pleading requirements of Rule 8 of the Federal Rules of Civil Procedure. A complaint

  “must contain (1) a short and plain statement of the grounds for the court’s jurisdiction, .

  . . (2) a short and plain statement of the claim showing that the pleader is entitled to

  relief; and (3) a demand for the relief sought.” Fed. R. Civ. P. 8(a). The philosophy of

  Rule 8(a) is reinforced by Rule 8(d)(1), which provides that “[e]ach allegation must be

  simple, concise, and direct.” Taken together, Rules 8(a) and (d)(1) underscore the

  emphasis placed on clarity and brevity by the federal pleading rules. Vague or

  unintelligible pleadings violate Rule 8.

         The twin purposes of a complaint are to give the opposing parties fair notice of

  the basis for the claims against them so that they may respond and to allow the Court to

  establish whether the allegations, if proven, show that the plaintiff is entitled to relief.

  See Monument Builders of Greater Kansas City, Inc. v. American Cemetery Ass’n of

  Kansas, 891 F.2d 1473, 1480 (10th Cir. 1989). The requirements of Fed. R. Civ. P. 8

  are designed to meet these purposes. See TV Communications Network, Inc. v. ESPN,

  Inc., 767 F. Supp. 1062, 1069 (D. Colo. 1991), aff’d, 964 F.2d 1022 (10th Cir. 1992).

         Further, vague and conclusory allegations that his rights have been violated do

  not entitle a pro se pleader to a day in court regardless of how liberally the court

  construes such pleadings. See Ketchum v. Cruz, 775 F. Supp. 1399, 1403 (D. Colo.

  1991), aff’d, 961 F.2d 916 (10th Cir. 1992). The general rule that pro se pleadings must
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  be construed liberally has limits and “the court cannot take on the responsibility of

  serving as the litigant’s attorney in constructing arguments and searching the record.”

  Garrett v. Selby Connor Maddux & Janer, 425 F.3d 836, 840 (10th Cir. 2005). Thus, “in

  analyzing the sufficiency of the plaintiff’s complaint, the court need accept as true only

  the plaintiff’s well-pleaded factual contentions, not his conclusory allegations.” Hall, 935

  F.2d at 1110. Neither the Court nor Defendant is required to guess in order to

  determine what claims are being asserted and what specific factual allegations support

  those claims.

         Plaintiff does not state a clear basis for this Court’s federal subject matter

  jurisdiction and fails to allege in a clear, concise, and organized manner what each

  defendant did to her, when the defendant did it, how the defendant’s action harmed her,

  what specific legal right she believes the defendant violated, and what specific relief she

  requests. See Nasious v. Two Unknown B.I.C.E. Agents, 492 F.3d 1158, 1163 (10th

  Cir. 2007).

          Moreover, to the extent the Court has jurisdiction over the § 1983 Claims

   asserted against the Colorado State Defendants and Defendant Martinez, Plaintiff does

   not adequately allege each defendant’s personal participation in the alleged

   constitutional violation. See Bennett v. Passic, 545 F.2d 1260, 1262-63 (10th Cir. 1976)

   (explaining that personal participation is an essential allegation in a § 1983 action).

   Plaintiff also cannot hold Larimer County, Platte Valley Youth Services, and individual

   Colorado Defendants sued in their official capacities liable under 42 U.S.C. § 1983

   because she does not allege facts to show the existence of a county or city policy or

   custom that has directly caused a violation of her constitutional rights. See City of
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   Canton, Ohio v. Harris, 489 U.S. 378, 385 (1989); Myers v. Oklahoma County Bd. of

   County Comm'rs, 151 F.3d 1313, 1316-20 (10th Cir. 1998); Hinton v. City of Elwood,

   Kan., 997 F.2d 774, 782 (10th Cir. 1993); Hafer v. Melo, 502 U.S. 21, 25 (1991).

         C. Rooker-Feldman and Younger

         The § 1983 Claims also appear to be subject to dismissal under the Rooker-

  Feldman and/or Younger abstention doctrines. As noted above, the allegations in the

  Complaint concern the placement of Plaintiff’s minor child as a result of state juvenile

  delinquency and child custody proceedings.

         To the extent Plaintiff is asking this Court to review and reverse the final

  decisions of a state court, the Court may not do so. The Rooker- Feldman doctrine

  provides that federal courts, other than the United States Supreme Court, lack

  jurisdiction to adjudicate claims seeking review of final state court judgments. See

  District of Columbia Court of Appeals v. Feldman, 460 U.S. 462, 486 (1983); Rooker v.

  Fidelity Trust Co., 263 U.S. 413, 415-16 (1923). In other words, the Rooker-Feldman

  doctrine precludes “cases brought by state-court losers complaining of injuries caused

  by state-court judgments rendered before the district court proceedings commenced and

  inviting district court review and rejection of those judgments.” Exxon Mobil Corp. v.

  Saudi Basic Indus. Corp., 544 U.S. 280, 284 (2005); see also Johnson v. De Grandy,

  512 U.S. 997, 1005-06 (1994) (stating that the losing party in a state court proceeding is

  generally “barred from seeking what in substance would be appellate review of the state

  court judgment in a United States district court, based on the losing party’s claim that the

  state judgment itself violates the loser’s federal rights.”). Review of the state court

  judgment must proceed to the state’s highest court and then to the United States
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  Supreme Court pursuant to 28 U.S.C. § 1257. See Facio v. Jones, 929 F.2d 541, 543

  (10th Cir. 1991).

         To the extent the state court judgment is not final, this Court must abstain under

  Younger v. Harris, 401 U.S. 37 (1971). The Younger doctrines provides that “a federal

  court [must] abstain from hearing a case where . . . (1) state judicial proceedings are

  ongoing; (2) state proceedings implicate an important state interest; and (3) the state

  proceedings offer an adequate opportunity to litigate federal constitutional issues.”

  Winnebago Tribe of Nebraska v. Stovall, 341 F.3d 1202, 1204 (10th Cir. 2003). See

  also Middlesex Cnty. Ethics Comm. v. Garden State Bar Ass’n, 457 U.S. 423, 432

  (1982). “Younger . . . and its progeny espouse a strong federal policy against federal

  court interference with pending state judicial proceedings absent extraordinary

  circumstances.” Middlesex County Ethics Comm., 457 U.S. at 431. When the three

  conditions are met, application of Younger is mandatory. Weitzel v. Div. of Occupational

  and Prof'l Licensing of Dep't of Commerce, 240 F.3d 871, 875 (10th Cir. 2001) (“[T]he

  district court must abstain once the conditions are met, absent extraordinary

  circumstances.”) (internal quotation marks omitted)).

         Here, the state proceedings appear to be ongoing. Second, resolution of child

  custody matters has been acknowledged as an important state interest. See Elk Grove

  Unified Sch. Dist. v. Newdow, 542 U.S. 1, 12–13 (2004) (“[T]he whole subject of the

  domestic relations of husband and wife, parent and child, belongs to the laws of the

  States and not to the laws of the United States.”); see also Chapman v. Barcus, 372

  Fed. Appx. 899 (10th Cir. 2010) (unpublished) (recognizing that the Tenth Circuit has
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   consistently applied Younger to child custody cases); Morrow v. Winslow, 94 F.3d 1386,

   1393 (10th Cir.1996) (noting that comity considerations of the Younger doctrine are

   particularly vital in child custody proceedings, which are “an especially delicate subject

   of state policy.”). Finally, state courts are generally equally capable of enforcing federal

   constitutional rights as federal courts. See Middlesex Cnty. Ethics Comm., 457 U.S. at

   431. See also D.L. v. Unified Sch. Dist. No. 497, 392 F.3d 1223, 1229 (10th Cir.2004)

   (holding that Younger abstention is appropriate when a federal plaintiff can pursue

   those claims in an ongoing state proceeding); see also Pennzoil Co. v. Texaco, Inc.,

   481 U.S. 1, 15 (1987) (stating “when a litigant has not attempted to present his federal

   claims in related state-court proceedings, a federal court should assume that state

   procedures will afford an adequate remedy, in the absence of unambiguous authority to

   the contrary”). It is Plaintiff’s burden to establish that state law prevents her from

   presenting her federal claims in the state proceedings. See J.B. ex rel. Hart v. Valdez,

   186 F.3d 1280, 1292 (10th Cir.1999).

          E. Judicial Immunity

          Even if Plaintiff can overcome Rooker-Feldman and Younger, the § 1983 Claims

   asserted against Defendant Zehe are improper because judges are absolutely immune

   from a civil rights suit based on actions taken in their judicial capacity, unless they acted

   in the clear absence of all jurisdiction. See Mireles v. Waco, 502 U.S. 9, 11-12 (1991);

   Stump v. Sparkman, 435 U.S. 349, 356-57 (1978); Hunt v. Bennett, 17 F.3d 1263, 1266-

   67 (10th Cir. 1994). Judicial immunity “is not overcome by allegations of bad faith or

   malice,” Mireles, 502 U.S. at 11, or an assertion that the judge acted in error or

   exceeded his or her authority, see Stump, 435 U.S. at 1105 (emphasis added). Further,
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   a judge acts in the clear absence of all jurisdiction only when he or she “acts clearly

   without any colorable claim of jurisdiction.” Snell v. Tunnell, 920 F.2d 673, 686 (10th

   Cir. 1990).

             Defendant Lees also is entitled to quasi-judicial immunity. As a derivative of

   judicial immunity, non-judicial officials also may be entitled to absolute immunity if they

   are performing judicial functions. See Forrester v. White, 484 U.S. 219, 224 (1988).

   However, "[w]hen judicial immunity is extended to officials other than judges, it is

   because their judgments are functionally comparable to those of judges – that is,

   because they, too, exercise a discretionary judgment as a part of their function."

   Antoine v. Byers & Anderson, Inc., 508 U.S. 429, 436 (1993) (internal quotation marks

   and alterations omitted). Here, the allegations against Defendant Lees arise from her

   role as an “investigative arm of the court” in the child custody proceedings. (ECF No. 5

   at 13).     Plaintiff does not allege that Defendant Lees was acting in the clear absence of

   all jurisdiction or outside the scope of her authority when conducting her evaluation and

   submitting her report to the state court. See Turney v. O’Toole, 898 F.2d 1470, 1474

   (10th Cir. 1990) (explaining that quasi-judicial immunity does not extend to acts taken by

   state officials in the clear absence of all jurisdiction or outside the scope of their

   jurisdiction). As a result, Defendant Lees’ actions in exercising her judgment with

   respect to the evaluation and report are protected by quasi-judicial immunity. See

   Hughes v. Long, 242 F.3d 121, 126 (3d Cir. 2001) (holding that child welfare workers

   are entitled to "judicial immunity because they acted as ‘arms of the court,’ similar to a

   guardian ad litem or a court-appointed doctor or psychologist, a non-judicial person who

   fulfills a quasi-judicial role at the court’s request."); see also McKinney v. Oklahoma Dep’
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   t of Human Servs., 925 F.2d 363, 365 (10th Cir. 1991) (recognizing judicial immunity for

   court clerk for alleged civil rights violations arising out of felony and juvenile

   proceedings).

          Finally, Defendants Evans and Martinez also are entitled to absolute immunity

   “[w]hen performing functions that are ‘quasi-judicial’ in nature.” Russ v. Uppah, 972

   F.2d 300, 303 (10th Cir.1992). Quasi-judicial activities are those which are “intimately

   associated with the judicial phase of the criminal process,” such as a probation officer’s

   preparation of a presentence report. Gerrish v. Ockey, 951 F.2d 1259 (10th Cir. 1991).

          F. Federal Criminal Statutes

          To the extent Plaintiff relies on federal criminal statutes for Claims Eight and

   Nine, she lacks standing to assert that a party has violated criminal laws, or to seek

   criminal prosecution, in either the state or federal court. See Linda R.S. v. Richard D.,

   410 U.S. 614, 619 (1973) (“A private citizen lacks a judicially cognizable interest in the

   prosecution or nonprosecution of another.”); see also Diamond v. Charles, 476 U.S. 54,

   64-65 (1986) (holding that private citizens cannot compel enforcement of criminal law);

   Newcomb v. Ingle, 827 F.2d 675, 676 n.1 (10th Cir. 1987) (finding no authorized private

   cause of action); Winslow v. Romer, 759 F. Supp. 670, 673 (D. Colo. 1991) (“Private

   citizens generally have no standing to institute federal criminal proceedings.”). As such,

   Plaintiff cannot recover civil damages for an alleged violation of a criminal statute. Shaw

   v. Neece, 727 F.2d 947, 949 (10th Cir. 1984).

   III. Recommendations

          For the reasons set forth herein, this Magistrate Judge respectfully

          RECOMMENDS that the Complaint (ECF No. 5) and this action be DISMISSED.

          DATED November 20, 2019
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                                           BY THE COURT:




                                           Gordon P. Gallagher
                                           United States Magistrate Judge
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